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                    IN THE UNITED STATES BANK RUPTCY COURT
                      FO R TH E SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                        ENTERED
                                                                                         08/10/2017

 In re:
                                            j
 David Corona,                                      Case N o.17-33936
                                            j
      D ebtor.                                      Chapter 13
                                            j
 O RDER REOUIRING TROY M OUTON TO PER SONALLY APPEAR IN CO URT TO
 GIVE TESTIM O NY ABOUT HIS COM M UNICATIONS W ITH YADIRA GONZALEZ
  CO NCERM NG THE PRO PERTY LOCATED AT 802 SANDFORD LODGE DRIVL
                        H O USTO N TEX AS 77073
                                        IDoc.No.1)
          On August4,2017,this Courtheld a hearing in the above-referenced Chapter 13 case.

M s.YadiraGonzalez tsçGonzalez''lgavetestimony thatshehasbeen residing at802 Sandford
LodgeDrive,Houston,Texas77073 (theçsproperty''j- which isproperty owned by theDebtor
inthiscase- andthatshehasgivenapproximately$15,000toTroy Mouton(CtM outon'')overthe
pastyearwith the expectation thathe would m ake paym ents to the lienholderon the Property.

Yet,the attom ey for the lienholder,who appeared at the August 4,2017 hearing,inform ed the

Courtthathis clienthas received no paym ents overthe pastyear.G onzalez also gave testim ony

that M outon has been representing to her for the past several m onths that he has been in

comm unications with the lienholder and m anaged to work outa restructtzre agreem entto avoid

the lienholderholding a foreclosuresale on theProperty. Yet,theattorney forthe lienholderhas

informed theCourtthatheisaware ofno such restructure agreement.

       The Courtnow wantsM outon to personally appearin courtand givetestim ony abouthis

com m unications with Gonzalez concerning the Property and w hat he has done with the m onies

given to him by Gonzalez. The Courtalso w ants M outon,w hen he appears in court,to bring

with him any documentation thathehasin hispossession (including emailsand textmessages)
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concerning hiscomm unicationswith Gonzalez orwith any third party aboutthe Property. ltis

therefore.
         .

          ORDERED thatTroy M outon shallpersonally appear in courtto give testim ony about

theabove-referenced m atters;and itisfurther

          ORD ERED that the hearing will take place on Septem ber 12,2017 at 2:00 P.M .in

courtroom 600, sixth tloor, Bob Casey FederalCourthouse,Houston,Texas 77002;and it is

further

          ORD ERED that Troy M outon shallbring w ith him to this hearing any docllm entation

that he has in his possession (including emails and text messages) concerning his
comm unicationswith Yadira Gonzalez orwith any third party aboutthe property located at802

SandfordLodgeDrive,Houston,Texas77073;and itisfurther

          ORD ERED thatifT roy M outon fails to appear to personally appear at this hearing,

then he shallbe in contem pt ofthis O rder,and this Courtw illissue a bench w arrantto the

U.S.M arshals Service to take him into custody and produce him in C ourt;and itis further

          ORD ERED thatthe Clerk of Courtw illsend copies ofthis O rder to Troy M outon atthe

following addresses and telefax numbers: (1) Texas Capital Homebuyers,3751 Childress,
Houston,Texas77005;(2)troy@ txcapitalhomebuyers.com;(3)American Neighborhood Home
Solution, 5680 Highway 6,Houston,Texas 77459;(4) TCHB@M E.COM ;(5) fax ntlmber
281-271-8170;and (6)3207 S.Pemberton Circle Drive,Houston,Texas77025-4329;and itis
further

      O RDERED thatthe Clerk ofCourtshallsend a copy of this Orderto Y adira Gonzalez at

the follow ing address: 802 Sandford Lodge Drive,H ouston,Texas77073;and itisfurther




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      ORDERED thatthe Clerk ofCourtshallsend a copy ofthisOrderto David Coronaatthe

following address: 17435 lm perialValley,Apartm ent103,Houston,Texas77060.



Signed on this 10th day ofA ugust,2017.



                                          JeffBohm
                                          United StatesBankruptcy Judge
